                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF WISCONSIN


ALFREDO DANIEL MONTANEZ,

                       Petitioner,

               v.                                             Case No. 20-C-736

STATE OF WISCONSIN,

                       Respondent.


                                             ORDER


       Petitioner Alfredo Daniel Montanez, proceeding pro se, filed a petition for a writ of habeas

corpus under 28 U.S.C. § 2241 on May 13, 2020. The filing fee for a writ of habeas corpus is

$5.00. If a petitioner does not have the money to pay the filing fee, he can request leave to proceed

without prepayment of the full filing fee. To proceed without prepayment of the full filing fee, the

petitioner must complete an application and affidavit explaining that he is unable to pay the fees

and return it to the court with a certified copy of his trust account statement showing transactions

for the prior six months.

       On May 13, 2020, the Clerk of Court sent Petitioner a letter, instructing him to either pay

the filing fee or submit a motion for leave to proceed without prepaying the full filing fee, along

with the affidavit and a certified copy of his trust account statement for the preceding six months.

Dkt. No. 2. Court records show that Petitioner’s trust account statement showing a balance of

approximately $20 has been filed, but that Petitioner has neither paid the $5.00 filing fee nor

submitted a motion for leave to proceed without prepayment of the full filing fee. On June 18,

2020, however, Petitioner filed with the Court a letter explaining that he had submitted to the




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Institution a form entitled “Authorization for Release of Account Information and Payment of the

Filing Fee,” along with his signed copy of the form. It thus appears that he has made some effort

to comply and pay the required fee.

       Based on the foregoing, Petitioner is directed to contact the person or persons in the

Cashier’s office at the Institution and inquire as to what further steps are needed for him to pay the

$5 filing fee for his petition out of his account. The Court will await 21 days or until July 31,

2020, for Petitioner to pay the fee or show cause for his failure to do so. If neither occurs by that

date, the petition will be dismissed without prejudice for failure to prosecute and comply with the

Court’s order. See Fed. R. Civ. P. 41(b); Civil L.R. 41 (E.D. Wis.).

       SO ORDERED at Green Bay, Wisconsin this 9th day of July, 2020.

                                                      s/ William C. Griesbach
                                                      William C. Griesbach
                                                      United States District Judge




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